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:N THE UNITED sTATEs DISTRICT coURT = 63/
FOR THE wEsTERN DISTRICT OF TENNESSEE
wESTERN DIVISION 3,,:-;

 

 

UNITED STATES OF AMERICA

Plaintiff,
V. Criminal No. CEY- 20)4& Ml

 

 

 

 

 

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ANEELHW4 GBHIJHTH ) (60-Day Continuance)
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Defendant(a).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the July
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, Auqust 26, 2005, with trial to take place on
the September, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through September 16, 2005. Agreed in
open court at report date this 24th day of June, 2005.

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so oRDERED this 24th day of June, 2005.

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PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

 

MAZMM
AQM/`JC

Assistant United Statqs Attorney

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L. z>/‘W/EL rrb/M§@/\/

 

 

 

 

Counsel for Defendant(s)

   

UNITED sTATE ISTRIC CoUR - W'"ERNT D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CR-20144 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

L. Daniel Johnson

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David Charles Henry

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167 N. Main St.

Ste. 800

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Honorable J on McCalla
US DISTRICT COURT

